                  DISTRICT COURT OF APPEAL OF FLORIDA
                          SECOND DISTRICT

                            GERALD A. MELTON,

                                 Appellant,

                                      v.

                            STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2024-0692


                              August 21, 2024

Appeal pursuant to Fla. R. App. P. 9.141(b)(2) from the Circuit Court for
Hillsborough County; Robin Fuson, Judge.


Gerald A. Melton, pro se.

PER CURIAM.

      Affirmed.

SILBERMAN, MORRIS, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
